              20-12441-mew
     Fill in this information to identifyDoc   1 Filed
                                          your case:        10/16/20 Entered 10/16/20 01:00:39                            Main Document
                                                                   Pg 1 of 37
     United States Bankruptcy Court for the:

     ____________________
     Southern              District
              District of New       of _________________
                                 York  (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                            
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Tribeca  Fit, Inc.
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ZJPC   Muscle Factory Inc. DBA Tribeca Health and Fitness
                                           ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               107 Chambers Street                                      _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               New York                      NY    10007
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               New York County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                https://www.tribecagym.com/
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             20-12441-mew               Doc 1     Filed 10/16/20 Entered 10/16/20 01:00:39                                Main Document
                                                               Pg 2 of 37
                Tribeca Fit, Inc.
Debtor          _______________________________________________________                          Case number (if known)_____________________________________
                Name


                                          A. Check one:
7.    Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above



                                          B. Check all that apply:
                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                             See http://www.naics.com/search/ .
                                             713940
                                             _________

8.    Under which chapter of the          Check one:
      Bankruptcy Code is the               
                                           ✔ Chapter 7
      debtor filing?
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                               affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                       recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                       income tax return or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                         Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                           statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                               § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                            Chapter 12
9.    Were prior bankruptcy cases          No
      filed by or against the debtor
      within the last 8 years?             Yes.              Bankr S.D.N.Y.
                                                    District _______________________       12/31/18
                                                                                     When _______________              18-14214
                                                                                                          Case number _________________________
                                                                                          MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

10.   Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an               Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                      District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                          MM / DD / YYYY
      attach a separate list.                       Case number, if known ________________________________

     Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
           20-12441-mew                Doc 1         Filed 10/16/20 Entered 10/16/20 01:00:39                                Main Document
                                                                  Pg 3 of 37
              Tribeca Fit, Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                             ✔




                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000
                                             ✔
                                                                               $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
           20-12441-mew               Doc 1        Filed 10/16/20 Entered 10/16/20 01:00:39                                  Main Document
                                                                Pg 4 of 37
               Tribeca Fit, Inc.
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              10/15/2020
                                               Executed on _________________
                                                           MM / DD / YYYY


                                              _____________________________________________               Allison Vernon-Thompson
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      CEO
                                               Title _________________________________________




18.   Signature of attorney
                                                    /s/ Vincent J. Roldan
                                               _____________________________________________              Date         10/15/2020
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Vincent Roldan
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Mandelbaum
                                               __________________        Salsburg    PC
                                                                         ____________________________________________________________________________
                                               Firm name
                                                3 Becker Farm Road
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Roseland
                                               ____________________________________________________             NJ            07068
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                973-974-9815
                                               ____________________________________                              vroldan@lawfirm.ms
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                2935302                                                         NY
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
               20-12441-mew                             Doc 1               Filed 10/16/20 Entered 10/16/20 01:00:39                                                                   Main Document
                                                                                         Pg 5 of 37

 Fill in this information to identify the case:

                Tribeca Fit, Inc.
  Debtor name _________________________________________________________________

                                          Southern District of New York
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                          92,487.04
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                             92,487.04
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        1,431,934.43



4. Total liabilities ...........................................................................................................................................................................        1,431,934.43
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
              20-12441-mew                 Doc 1       Filed 10/16/20 Entered 10/16/20 01:00:39                           Main Document
                                                                    Pg 6 of 37
  Fill in this information to identify the case:

               Tribeca Fit, Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Southern District of New York
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Chase
    3.1. _________________________________________________  Savings
                                                           ______________________              ____ ____ ____ ____               $______________________
                                                                                                                                   2,514.54
          Chase
    3.2. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____                 0.00
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 2,514.54
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
            20-12441-mew                 Doc 1            Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
Debtor           Tribeca Fit, Inc.
                _______________________________________________________Pg 7 of 37   Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                              page 2
             20-12441-mew               Doc 1         Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
                   Tribeca Fit, Inc.
Debtor                                                             Pg 8 of 37
                  _______________________________________________________       Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
                                                                                                                                      Unknown
  See Schedule A/B Part 5, Question 21 Attachment   ______________                                                                  $______________________
   ________________________________________                                      $__________________       ______________________
                                                              MM / DD / YYYY

22. Other inventory or supplies
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                   0.00
                                                                                                                                    $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
            20-12441-mew                Doc 1        Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
Debtor
                Tribeca Fit, Inc.                                 Pg 9 of 37
               _______________________________________________________         Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
Desks, chairs, file cabinets
                                                                                    200.00
                                                                                  $________________   ____________________       200.00
                                                                                                                               $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
    communication systems equipment and software
3 old computers, printers, and hard drives                                          200.00                                       200.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 400.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
           20-12441-mew               Doc 1        Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
                 Tribeca Fit, Inc.
 Debtor                                                        Pg 10 of 37
                _______________________________________________________      Case number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________   ____________________    $______________________

    47.2___________________________________________________________         $________________   ____________________    $______________________

    47.3___________________________________________________________         $________________   ____________________    $______________________

    47.4___________________________________________________________         $________________   ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________    ____________________    $______________________

    48.2__________________________________________________________         $________________    ____________________    $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________    ____________________    $______________________

    49.2__________________________________________________________         $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See Schedule A/B Part 8, Question 50 Attachment
                                                                             10,000.00                                    10,000.00
    ______________________________________________________________         $________________    ____________________    $______________________


51. Total of Part 8.                                                                                                      10,000.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔    No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔    No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
              20-12441-mew
                Tribeca Fit, Inc.
                                           Doc 1         Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
 Debtor                                                              Pg 11 of 37
                  _______________________________________________________          Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       107 Chambers Street                                     Lease
55.1
                                                                                                                                    0.00
                                                                                     $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                0.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
                                                                                                                                     Unknown
    Domain name
    ______________________________________________________________                   $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations                                                                             Unknown
    Customer lists
    ______________________________________________________________                   $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                0.00
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
            20-12441-mew                     Doc 1      Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
Debtor            Tribeca Fit, Inc.                                 Pg 12 of 37
                 _______________________________________________________          Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
    
    ✔     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                       Current value of
                                                                                                                                       debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                      _______________     –   __________________________         =   $_____________________
                                                                      Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                    $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     See continuation sheet
    ______________________________________________________________                                                                      79,572.50
                                                                                                                                      $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                    $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                     $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                       $_____________________
   ____________________________________________________________                                                                       $_____________________
78. Total of Part 11.
                                                                                                                                        79,572.50
                                                                                                                                      $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                   page 7
              20-12441-mew                     Doc 1           Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
                   Tribeca Fit, Inc.
Debtor            _______________________________________________________  Pg 13 of 37   Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         2,514.54
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         400.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         10,000.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         79,572.50
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         92,487.04                             0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  92,487.04                                                                                        92,487.04
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
            20-12441-mew                      Doc 1      Filed 10/16/20 Entered 10/16/20 01:00:39                    Main Document
                Tribeca Fit, Inc.                                    Pg 14 of 37
 Debtor 1                                                                 _                 Case number (if known)
               First Name       Middle Name           Last Name



                                                          Continuation Sheet for Official Form 206 A/B
74) Causes of action against third parties (whether or not a lawsuit has been filed)

Counterclaims                          Breach of lease                 0.00                               Unknown
against 105                            (unliquidated)
Management Corp.

Cause of action                        Theft and                       10,000.00                          Unknown
against Michael C.                     conversion of
Sperber                                equipment
                                       (unliquidated)

Claim against Krav                     Unpaid rent                     79,572.50                          79,572.50
Maga Institute                         (unliquidated)




Official Form 206 A/B                                                  Schedule A/B: Property
20-12441-mew              Doc 1    Filed 10/16/20 Entered 10/16/20 01:00:39     Main Document
                                               Pg 15 of 37


Tribeca Fit Inc.



Schedule A/B Part 5 Question 21: Inventory



     Drinks            package cost count per box number of units Total value

Voss                          18.59            24              3.5     65.065

Poland Spring                  9.99            24               3       29.97

Coconut Water                 11.99            12               4       47.96

Muscle Milk                   14.98            12               1       14.98

VPX bang                      23.99                             2       47.98

Stacked Energy                23.99                             3       71.97

Owyn Protein                  35.99                             2       71.98

ABB                           24.95                             5      124.75




                                                                      474.655




4825-9256-2127, v. 1
                  20-12441-mew          Doc 1     Filed 10/16/20 Entered 10/16/20 01:00:39    Main Document
                                                              Pg 16 of 37
SCHEDULE A/B PART 8 QUESTION 50: EQUIPMENT

                      Upstairs
                      Computers                                                                             3
                      Printer                                                                               2
                      treadmills                                                                            2
                      stepper                                                                               1
                      Battle rope wheel                                                                     1
                      Battle ropes                                                                          6
                      elipticals                                                                            4
                      massage tables                                                                        2
                      foam rollers                                                                          5
                      yoga mats                                                                             2
                      slam balls                                                                           10
                      Flooring mats                                                                        20
                      individual Kettle bells                                                               3
                      Pull up racks with TRX capability                                                     4
                      Leg extension
                      seated ham curl
                      chest supported row
                      seated chest press
                      seated overhead press
                      seated pulldown machine
                      assorted dumbell pairs                                                 15-20 pairs
                      lockers
                      olympic plates                                                         15-20
                      futons                                                                                2
                      coffee tables                                                                         2
                      Vipers                                                                                3
                      Plyometric boxes
                      various plyometric tools like jump ropes, bands, blocks, balls, etc
                      Various foam pads


                      Downstairs
20-12441-mew        Doc 1    Filed 10/16/20 Entered 10/16/20 01:00:39   Main Document
                                         Pg 17 of 37

  DB sets 5lb-140lb
  benches                                                                        3
  incline press machine                                                          2
  seated press bench                                                             1
  decline press machine
  physio balls                                                                   4
  bar bell set 20-60lb                                                           5
  olympic curl bar set 20-60lb                                                   5
  Overhead press plate machine
  leg press
  prone curl
  quad extension
  seated hamstring curl
  decline bench
  single leg standing hamstring
  Roman chair
  Dueal side cable machines with lat pull connections and pull up bar            4
  Lat pulldown and row machine combo
  various bars and handles for the cable equipment                               5
  Pec fly machine
                   20-12441-mew      Doc 1       Filed 10/16/20 Entered 10/16/20 01:00:39   Main Document
                                                             Pg 18 of 37
SCHEDULE A/B PART 8 QUESTION 50 (CONTINUED)

                                                                   Missing Gym Equipment
                          Qty      Item
                           1       Front Hack Squat
                           1       Back Hack Sqluat
                           1       Smith Machine
                           1       Incline Hammer Strength
                           2       Bench Press Bench with Rack
                           1       Assited Pullup Machine
                           2       Stair Mills
                           1       Stepper Machines
                           2       Recumbent Stationary Bike
                           1       Barbell Storage Rack
                           1       Flat Bench
                           2       Upright Stationary Bike
                           1       Attack Bike
                           1       Ski Erg
                           1       Row machine
                           4       Treadmills
                         5-15      Rubber Floor Mats (4x4 feet each)
                          20       Dumbells (assorted sizes)
                          20       Kettle Bells (assorted sizes)
                           4       Barbells
                           1       EZ curl bar
                           1       Squat Power Rack
                           1       Shrug Machine
                           1       Seated Calf Raise
                          96       Blue Hand towels
                          144      White Bath towels
                           1       Industrial Blender
                           1       Drip Coffee Maker
                           1       Kurige coffee maker
                           2       Industrial Floor Cleaner
20-12441-mew     Doc 1         Filed 10/16/20 Entered 10/16/20 01:00:39   Main Document
                                           Pg 19 of 37

     2         Microwave
     4         Floor fans
     1         Large capacity dehumidifier
     1         small capacity dehumidifier
     1         gym audio system
     1         Tool shed and assorted tools
     3         Equipment storage racks
     2         Soap dispensers
     3         leather stools
     1         Hand Sanitizer Dispenser
     12        Olympic Bumper Plates assorted sizes
     1         Band Hip Thrust
     3         Equipment wall racks
     2         Olympic Plate Storage Rack
     2         Office Airconditioning Unit
     1         Sissy Squat Machine



     1         Upright Vacuum Cleaner
     1         First aid kit
              20-12441-mew                      Doc 1            Filed 10/16/20 Entered 10/16/20 01:00:39                                   Main Document
                                                                             Pg 20 of 37
  Fill in this information to identify the case:
              Tribeca Fit, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Southern  District of New York

  Case number (If known):       _________________________                                                                                                 Check if this is an
                                                                                                                                                              amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                   Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                    Amount of claim           Value of collateral
                                                                                                                                   Do not deduct the value   that supports this
2.1 Creditor’s name                                               Describe debtor’s property that is subject to a lien             of collateral.            claim


      __________________________________________                                                                                   $__________________        $_________________

     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________

                                                                  Describe the lien
    Creditor’s email address, if known
                                                                   _________________________________________________
      _________________________________________
                                                                  Is the creditor an insider or related party?
    Date debt was incurred           __________________               No
    Last 4 digits of account                                          Yes
    number                   _________________                     Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                     No
    same property?                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                   As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                   Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
2.2 Creditor’s name                                               Describe debtor’s property that is subject to a lien
                                                                                                                                   $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                   Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                       _________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                     No
    same property?                                                    Yes
     No                                                           Is anyone else liable on this claim?
     Yes. Have you already specified the relative                    No
              priority?
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.            As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
             Yes. The relative priority of creditors is              Unliquidated
                  specified on lines _____                            Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                            0
                                                                                                                                                                page 1 of ___
                   20-12441-mew            Doc 1        Filed 10/16/20 Entered 10/16/20 01:00:39                             Main Document
      Fill in this information to identify the case:                Pg 21 of 37

      Debtor
                      Tribeca Fit, Inc.
                      __________________________________________________________________

                                              Southern District of New York
      United States Bankruptcy Court for the: ________________________________

      Case number      ___________________________________________
      (If known)

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                       12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      
      ✔    No. Go to Part 2.
          Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                       No
                                                                Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                               11
                                                                                                                                            page 1 of ___
             20-12441-mew
               Tribeca Fit, Inc.       Doc 1        Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
  Debtor        _______________________________________________________       Case number (if known)_____________________________________
                Name                                            Pg 22 of 37
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    105 Management Corp.                                                                                                       1,142,642.00
                                                                                                                             $________________________________
                                                                           
                                                                           ✔
                                                                                Contingent
    202 Centre Street                                                      
                                                                           ✔
                                                                                Unliquidated
    6th Floor                                                              
                                                                           ✔
                                                                                Disputed
    New York, NY, 10013                                                                            Alleged rent obliations
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔    No
                                                                               Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Akselrad, Evan and Anavi, Yasmine                                      Check all that apply.                               16,866.35
                                                                                                                             $________________________________
    16 Jay Street Floor 3                                                     Contingent
    New York, NY, 10013                                                       Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Monies Loaned / Advanced


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔    No
    Last 4 digits of account number            __________________              Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Allen, Ian                                                                                                                 2,200.00
                                                                                                                             $________________________________
                                                                               Contingent
    50 Lefferts Avenue 6N                                                      Unliquidated
    Brooklyn, NY, 11225                                                        Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔    No
                                                                               Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Ames, Adam                                                             Check all that apply.
                                                                                                                               34,277.75
                                                                                                                             $________________________________
    41 Warren Street, 2d Floor                                                 Contingent
    New York, NY, 10007                                                        Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
                                                                                                   Monies Loaned / Advanced

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                                No
                                                                               Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Anil, Raelyn                                                                                                               Unknown
                                                                                                                             $________________________________
                                                                           Check all that apply.
    c/o Jesse S. Weinstein, Esq. Phillips &                                ✔   Contingent
    Associates, PLLC                                                       
                                                                           ✔    Unliquidated
    45 Broadway, Suite 620                                                 
                                                                           ✔    Disputed
    New York, NY, 10016
                                                                           Basis for the claim:

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔    No
                                                                               Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Bengtsson, Carl                                                                                                            200.00
                                                                                                                             $________________________________
                                                                           Check all that apply.
    15 Leonard Street                                                         Contingent
    New York, NY, 10013                                                       Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                                No
                                                                               Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                     2 of ___
                                                                                                                                                    page __    11
               20-12441-mew
                 Tribeca Fit, Inc.        Doc 1      Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
  Debtor          _______________________________________________________      Case number (if known)_____________________________________
                  Name                                           Pg 23 of 37
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             88.00
                                                                                                                         $________________________________
 Bravo, Jason                                                               Contingent
 96 South Portland Avenue 1                                                 Unliquidated
 Brooklyn, NY, 11217                                                        Disputed

                                                                         Basis for the claim:



                                                                         Is the claim subject to offset?
        Date or dates debt was incurred           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
        Last 4 digits of account number           ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                           525.00
                                                                                                                         $________________________________
 Brownhill, Jean
 277 Washington Avenue                                                      Contingent
 Brooklyn, NY, 11205                                                        Unliquidated
                                                                            Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Connors, Trinity                                                        Check all that apply.
                                                                                                                          725.00
                                                                                                                         $________________________________
 497 9th Street #4                                                          Contingent
 Brooklyn, NY, 11215                                                        Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           __________________     
                                                                         ✔
                                                                             No
                                                                            Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          8,690.87
                                                                                                                         $________________________________
 Consolidated Edison                                                     Check all that apply.
 PO Box 1702                                                                Contingent
 New York, NY, 10116-1702                                                   Unliquidated
                                                                            Disputed

                                                                         Basis for the claim: Utility Services



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Cronogue, Mark                                                          Check all that apply.
                                                                                                                           500.00
                                                                                                                         $________________________________
 174 Grand Street 2B                                                        Contingent
 Jersey City, NJ, 07302                                                     Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes




       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                3 of ___
                                                                                                                                                page __    11
               20-12441-mew
                 Tribeca Fit, Inc.        Doc 1      Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
  Debtor          _______________________________________________________      Case number (if known)_____________________________________
                  Name                                           Pg 24 of 37
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             86,228.90
                                                                                                                         $________________________________
 Di Marco, Cosmo                                                            Contingent
 760 Ocean Avenue                                                           Unliquidated
 Boynton Beach, FL, 33435                                                   Disputed

                                                                         Basis for the claim:



                                                                         Is the claim subject to offset?
        Date or dates debt was incurred           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
        Last 4 digits of account number           ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                           950.00
                                                                                                                         $________________________________
 Diaz, Darwin
 4901 Avenue L                                                              Contingent
 Brooklyn, NY, 11234                                                        Unliquidated
                                                                            Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Earl, Elizabeth                                                         Check all that apply.
                                                                                                                          484.00
                                                                                                                         $________________________________
 817 Bergen Street 1C                                                       Contingent
 Brooklyn, NY, 11238                                                        Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           __________________     
                                                                         ✔
                                                                             No
                                                                            Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          150.00
                                                                                                                         $________________________________
 Faloon, Tracy                                                           Check all that apply.
 121 Reade Street                                                           Contingent
 New York, NY, 10013                                                        Unliquidated
                                                                            Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Fields, Robin                                                           Check all that apply.
                                                                                                                           600.00
                                                                                                                         $________________________________
 73 Worth Street                                                            Contingent
 New York, NY, 10013                                                        Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes




       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                4 of ___
                                                                                                                                                page __    11
               20-12441-mew
                 Tribeca Fit, Inc.        Doc 1      Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
  Debtor          _______________________________________________________      Case number (if known)_____________________________________
                  Name                                           Pg 25 of 37
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             21,082.98
                                                                                                                         $________________________________
 Freeman, Kate and Jeremy                                                   Contingent
 177 Hudson Street Apt 4                                                    Unliquidated
 New York, NY, 10013                                                        Disputed

                                                                         Basis for the claim: Monies Loaned / Advanced



                                                                         Is the claim subject to offset?
        Date or dates debt was incurred           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
        Last 4 digits of account number           ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                           70.00
                                                                                                                         $________________________________
 Gerzema, Mary
 60 Warren Street                                                           Contingent
 New York, NY, 10007                                                        Unliquidated
                                                                            Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Giangrasso, Joe                                                         Check all that apply.
                                                                                                                          575.00
                                                                                                                         $________________________________
 28-30 Jackson Avenue                                                       Contingent
                                                                            Unliquidated
 Long Island City, NY, 11101                                                Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           __________________     
                                                                         ✔
                                                                             No
                                                                            Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          175.00
                                                                                                                         $________________________________
 Iwanejko, Andrea                                                        Check all that apply.
 2255 5th Avenue 3G                                                         Contingent
 New York, NY, 10037                                                        Unliquidated
                                                                            Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Jones, Charles                                                          Check all that apply.
                                                                                                                           176.00
                                                                                                                         $________________________________
 140 Sand Lane                                                              Contingent
 Staten Island, NY, 10305                                                   Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes




       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                5 of ___
                                                                                                                                                page __    11
               20-12441-mew
                 Tribeca Fit, Inc.        Doc 1      Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
  Debtor          _______________________________________________________      Case number (if known)_____________________________________
                  Name                                           Pg 26 of 37
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             682.00
                                                                                                                         $________________________________
 Lee, Vincent                                                               Contingent
 7404 85th Drive                                                            Unliquidated
 Woodhaven, NY, 11421                                                       Disputed

                                                                         Basis for the claim:



                                                                         Is the claim subject to offset?
        Date or dates debt was incurred           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
        Last 4 digits of account number           ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                           572.00
                                                                                                                         $________________________________
 Leung, Justin
 57-32 Parsons Blvd                                                         Contingent
 Fresh Meadows, NY, 11365                                                   Unliquidated
                                                                            Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Loftus, Hillary                                                         Check all that apply.
                                                                                                                          1,386.00
                                                                                                                         $________________________________
 448 West 36th Street 3                                                     Contingent
 New York, NY, 10018                                                        Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           __________________     
                                                                         ✔
                                                                             No
                                                                            Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          580.00
                                                                                                                         $________________________________
 Lohrfink, Jill                                                          Check all that apply.
 101 Warren Street                                                          Contingent
 New York, NY, 10007                                                        Unliquidated
                                                                            Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Martin, Calvin                                                          Check all that apply.
                                                                                                                           750.00
                                                                                                                         $________________________________
 180 Water Street 2410                                                      Contingent
 New York, NY, 10038                                                        Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes




       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                6 of ___
                                                                                                                                                page __    11
               20-12441-mew
                 Tribeca Fit, Inc.        Doc 1      Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
  Debtor          _______________________________________________________      Case number (if known)_____________________________________
                  Name                                           Pg 27 of 37
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             1,540.00
                                                                                                                         $________________________________
 Medina, Henry                                                              Contingent
 75 Locustwood Blvd                                                         Unliquidated
                                                                            Disputed
 Elmont, NY, 11003
                                                                         Basis for the claim:



                                                                         Is the claim subject to offset?
        Date or dates debt was incurred           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
        Last 4 digits of account number           ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                           Unknown
                                                                                                                         $________________________________
 New York City Department of Finance
 1 Centre Street                                                            Contingent
 New York, NY, 10007                                                        Unliquidated
                                                                         
                                                                         ✔
                                                                             Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 New York Department of Taxation and Finance                             Check all that apply.
                                                                                                                          Unknown
                                                                                                                         $________________________________
 Bankruptcy Section                                                         Contingent
 PO Box 5300                                                                Unliquidated
 Albany, NY, 12205                                                       
                                                                         ✔
                                                                             Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           __________________     
                                                                         ✔
                                                                             No
                                                                            Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          10,541.49
                                                                                                                         $________________________________
 O'Neill, Regan and Erin                                                 Check all that apply.
 100 Barclay Street Apt 12N                                                 Contingent
 New York, NY, 10007                                                        Unliquidated
                                                                            Disputed

                                                                         Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Parker, Kyle                                                            Check all that apply.
                                                                                                                           1,672.00
                                                                                                                         $________________________________
 303 East 83d Street 3F                                                     Contingent
 New York, NY, 10028                                                        Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes




       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                7 of ___
                                                                                                                                                page __    11
               20-12441-mew
                 Tribeca Fit, Inc.        Doc 1      Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
  Debtor          _______________________________________________________      Case number (if known)_____________________________________
                  Name                                           Pg 28 of 37
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             750.00
                                                                                                                         $________________________________
 Preuninger, Victor                                                         Contingent
 4251 Hunter Street 2D                                                      Unliquidated
 Long Island City, NY, 11101                                                Disputed

                                                                         Basis for the claim:



                                                                         Is the claim subject to offset?
        Date or dates debt was incurred           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
        Last 4 digits of account number           ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                           2,046.00
                                                                                                                         $________________________________
 Roberts, Brian
 34 West 56th Street                                                        Contingent
 Bayonne, NJ, 07002                                                         Unliquidated
                                                                            Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Rodriguez, Frank                                                        Check all that apply.
                                                                                                                          1,188.00
                                                                                                                         $________________________________
 1380 1st Avenue 5H                                                         Contingent
                                                                            Unliquidated
 New York, NY, 10021                                                        Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           __________________     
                                                                         ✔
                                                                             No
                                                                            Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          32,616.33
                                                                                                                         $________________________________
 Small Business Administration                                           Check all that apply.
 26 Federal Plaza #3100                                                     Contingent
 New York, NY, 10278                                                        Unliquidated
                                                                            Disputed

                                                                         Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Sparber, Roy and Susan                                                  Check all that apply.
                                                                                                                           34,322.58
                                                                                                                         $________________________________
 53 North Moore Street Apt 6D                                               Contingent
 New York, NY, 10013                                                        Unliquidated
                                                                            Disputed
                                                                         Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred           ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes




       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                8 of ___
                                                                                                                                                page __    11
               20-12441-mew
                 Tribeca Fit, Inc.        Doc 1      Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
  Debtor          _______________________________________________________      Case number (if known)_____________________________________
                  Name                                           Pg 29 of 37
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                              Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             638.00
                                                                                                                         $________________________________
 Thach, Chantha                                                             Contingent
 70 7th Avenue 3A                                                           Unliquidated
 New York, NY, 10011                                                        Disputed

                                                                         Basis for the claim:



                                                                         Is the claim subject to offset?
        Date or dates debt was incurred           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
        Last 4 digits of account number           ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                           275.00
                                                                                                                         $________________________________
 Tribeca Paint
 217 W Broadway                                                             Contingent
 New York, NY, 10013                                                        Unliquidated
                                                                            Disputed

                                                                         Basis for the claim: Services



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Twin Oaks                                                               Check all that apply.
                                                                                                                          500.00
                                                                                                                         $________________________________
 1463 Berlin Turnpike                                                       Contingent
                                                                            Unliquidated
 Berlin, CT, 06037                                                          Disputed
                                                                         Basis for the claim: Utility Services



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           __________________     
                                                                         ✔
                                                                             No
                                                                            Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          21,866.38
                                                                                                                         $________________________________
 Vaughan, Roberta                                                        Check all that apply.
 118 Centre Island Road                                                     Contingent
 Oyster Bay, NY, 11711                                                      Unliquidated
                                                                            Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Verizon                                                                 Check all that apply.
                                                                                                                           1,173.80
                                                                                                                         $________________________________
 PO Box 15124                                                               Contingent
 Albany, NY, 12212                                                          Unliquidated
                                                                            Disputed
                                                                         Basis for the claim: Telephone / Internet services



        Date or dates debt was incurred           ____________________   Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes




       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                9 of ___
                                                                                                                                                page __    11
               20-12441-mew
                 Tribeca Fit, Inc.        Doc 1      Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
  Debtor          _______________________________________________________      Case number (if known)_____________________________________
                  Name                                           Pg 30 of 37
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                            Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:
                                                                         Check all that apply.                             1,144.00
                                                                                                                         $________________________________
 Wear, Lukas                                                                Contingent
 510 East 88th Street D                                                     Unliquidated
 New York, NY, 10024                                                        Disputed

                                                                         Basis for the claim:



                                                                         Is the claim subject to offset?
        Date or dates debt was incurred           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
        Last 4 digits of account number           ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                                                                           308.00
                                                                                                                         $________________________________
 Weber, Jonathan
 40 South Oxford Street 2                                                   Contingent
 Brooklyn, NY, 11217                                                        Unliquidated
                                                                            Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           ___________________
                                                                         
                                                                         ✔
                                                                             No
                                                                            Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
 Weiser, Nathan                                                          Check all that apply.
                                                                                                                          154.00
                                                                                                                         $________________________________
 160 Riverside Blvd 22B                                                     Contingent
 New York, NY, 10069                                                        Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
        Last 4 digits of account number           __________________     
                                                                         ✔
                                                                             No
                                                                            Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                                                                          22.00
                                                                                                                         $________________________________
 Yurcisin, Zachary                                                       Check all that apply.
 191 St Nicholas Avenue 5F                                                  Contingent
 New York, NY, 10026                                                        Unliquidated
                                                                            Disputed

                                                                         Basis for the claim:



        Date or dates debt was incurred           ___________________    Is the claim subject to offset?
                                                                         
                                                                         ✔
                                                                             No
        Last 4 digits of account number           ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.                           $________________________________
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:



        Date or dates debt was incurred           ____________________   Is the claim subject to offset?
                                                                            No
        Last 4 digits of account number           ___________________       Yes




       Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                     10 of ___
                                                                                                                                                            11
            20-12441-mew
              Tribeca Fit, Inc.     Doc 1       Filed 10/16/20 Entered 10/16/20 01:00:39 Main Document
 Debtor        _______________________________________________________    Case number (if known)_____________________________________
               Name                                         Pg 31 of 37
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                          0.00
                                                                                                        $_____________________________




5b. Total claims from Part 2                                                                  5b.   +     1,431,934.43
                                                                                                        $_____________________________




5c. Total of Parts 1 and 2                                                                                1,431,934.43
                                                                                              5c.       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page __
                                                                                                                                      11 of ___
                                                                                                                                             11
            20-12441-mew               Doc 1        Filed 10/16/20 Entered 10/16/20 01:00:39                                Main Document
                                                                Pg 32 of 37
 Fill in this information to identify the case:

             Tribeca Fit, Inc.
 Debtor name __________________________________________________________________

                                         Southern District of New
 United States Bankruptcy Court for the:______________________          York
 Case number (If known):    _________________________                        7
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Lease for 107 Chambers St.                        105 Management Corp.
         State what the contract or    Lessee                                            202 Centre Stret
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         New York, NY, 10013

         State the term remaining
                                       1 year plus option
         List the contract number of
         any government contract

                                       Sublease                                          Krav Maga Institute
         State what the contract or    Lessor                                            325 Clinton Avenue Apt 3C
 2.2     lease is for and the nature
         of the debtor’s interest                                                        Brooklyn, NY, 11205

         State the term remaining
         List the contract number of
         any government contract

                                       Insurance                                          Massachusetts Bay Insurance Company
         State what the contract or    Purchaser                                          400 Atrium Dr 5th floor
 2.3     lease is for and the nature
         of the debtor’s interest                                                         Somerset, NJ, 08873

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
            20-12441-mew                Doc 1        Filed 10/16/20 Entered 10/16/20 01:00:39                                Main Document
                                                                 Pg 33 of 37
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Tribeca Fit, Inc.

                                         Southern District of New York
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

       Frederick Thompson            Frederick Thompson and AllisonVernon-Thompson
 2.1
                                     107 Chambers St                               105  Management Corp.
                                                                                    _____________________                                     D
       and                                                                                                                                   ✔ E/F
                                                                                                                                             
       AllisonVernon-Thom            New York, NY 10007                                                                                       G
       pson


 2.2                       Frederick Thompson and Allison Vernon
                           Thompson                                                                      Akselrad,                   D
                                                                                                                    Evan and Anavi, Yasmine
                                                                                                          _____________________
                                                                                                                                             ✔ E/F
                                                                                                                                             
                           107 Chambers Street                                                                                                G
       Frederick Thompson and Allison Vernon Thompson
                           New York, NY 10007


 2.3                       Frederick Thompson and Allison
                           Vernon-Thompson                                                                Sparber,   Roy and Susan
                                                                                                           _____________________              D
                                                                                                                                             ✔ E/F
                                                                                                                                             
                           107 Chambers Street
       Frederick Thompson and Allison                                                                                                         G
                           New   York,Vernon-Thompson
                                       NY 10007


 2.4
                           Frederick Thompson and Allison
                           Vernon-Thompson                                                               Vaughan,    Roberta
                                                                                                          _____________________               D
                                                                                                                                             ✔ E/F
                                                                                                                                             
                           107 Chambers Street
       Frederick Thompson and Allison                                                                                                         G
                           New   York,Vernon-Thompson
                                       NY 10007


 2.5                       Frederick Thompson and Allison
                           Vernon-Thompson                                                               Ames,   Adam
                                                                                                          _____________________               D
                                                                                                                                             ✔ E/F
                                                                                                                                             
                           107 Chambers St                                                                                                    G
       Frederick Thompson and Allison Vernon-Thompson
                           New York, NY 10007


 2.6                       Frederick Thompson and Allison
                           Vernon-Thompson                                                               O'Neill, Regan and Erin
                                                                                                          _____________________               D
                                                                                                                                             ✔ E/F
                                                                                                                                             
                           107 Chambers St                                                                                                    G
       Frederick Thompson and Allison Vernon-Thompson
                           New York, NY 10007




Official Form 206H                                               Schedule H: Codebtors                                                                    2
                                                                                                                                               page 1 of ___
            20-12441-mew            Doc 1       Filed 10/16/20 Entered 10/16/20 01:00:39                       Main Document
               Tribeca Fit, Inc.                            Pg 34 of 37
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   7
 2.___                            Frederick Thompson and Allison
          Frederick Thompson and Allison Vernon-Thompson
          _____________________                                                              Freeman,    Kate and Jeremy D
                                                                                              _____________________
                                Vernon-Thompson
                                                                                                                              ✔ E/F
                                                                                                                              
                                  107 Chambers St                                                                              G
                                  New York, NY 10007


 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       2 of ___
                                                                                                                                             2
          20-12441-mew                  Doc 1     Filed 10/16/20 Entered 10/16/20 01:00:39                              Main Document
                                                              Pg 35 of 37
 Fill in this information to identify the case and this filing:

              Tribeca Fit, Inc.
 Debtor Name __________________________________________________________________

                                         Southern District of New York
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    10/15/2020
        Executed on ______________                            _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                       Allison Vernon-Thompson
                                                                ________________________________________________________________________
                                                                Printed name

                                                                         10/15/2020
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
20-12441-mew            Doc 1       Filed 10/16/20 Entered 10/16/20 01:00:39         Main Document
                                                Pg 36 of 37

105 Management Corp.                                   Diaz, Darwin
202 Centre Street                                      4901 Avenue L
6th Floor                                              Brooklyn, NY 11234
New York, NY 10013

                                                       Earl, Elizabeth
Akselrad, Evan and Anavi, Yasmine                      817 Bergen Street 1C
16 Jay Street Floor 3                                  Brooklyn, NY 11238
New York, NY 10013

                                                       Faloon, Tracy
Allen, Ian                                             121 Reade Street
50 Lefferts Avenue 6N                                  New York, NY 10013
Brooklyn, NY 11225

                                                       Fields, Robin
Ames, Adam                                             73 Worth Street
41 Warren Street, 2d Floor                             New York, NY 10013
New York, NY 10007

                                                       Frederick Thompson and AllisonVernon-Thompson
Anil, Raelyn                                           107 Chambers St
Phillips & Associates c/o J. Weinstein                 New York, NY 10007
45 Broadway, Suite 620
New York, NY 10016
                                                       Freeman, Kate and Jeremy
                                                       177 Hudson Street Apt 4
Bengtsson, Carl                                        New York, NY 10013
15 Leonard Street
New York, NY 10013
                                                       Gerzema, Mary
                                                       60 Warren Street
Bravo, Jason                                           New York, NY 10007
96 South Portland Avenue 1
Brooklyn, NY 11217
                                                       Giangrasso, Joe
                                                       28-30 Jackson Avenue
Brownhill, Jean                                        Long Island City, NY 11101
277 Washington Avenue
Brooklyn, NY 11205
                                                       Iwanejko, Andrea
                                                       2255 5th Avenue 3G
Connors, Trinity                                       New York, NY 10037
497 9th Street #4
Brooklyn, NY 11215
                                                       Jones, Charles
                                                       140 Sand Lane
Consolidated Edison                                    Staten Island, NY 10305
PO Box 1702
New York, NY 10116-1702
                                                       Krav Maga Institute
                                                       325 Clinton Avenue Apt 3C
Cronogue, Mark                                         Brooklyn, NY 11205
174 Grand Street 2B
Jersey City, NJ 07302
                                                       Lee, Vincent
                                                       7404 85th Drive
Di Marco, Cosmo                                        Woodhaven, NY 11421
760 Ocean Avenue
Boynton Beach, FL 33435
20-12441-mew             Doc 1   Filed 10/16/20 Entered 10/16/20 01:00:39           Main Document
                                             Pg 37 of 37

Leung, Justin                                       Rodriguez, Frank
57-32 Parsons Blvd                                  1380 1st Avenue 5H
Fresh Meadows, NY 11365                             New York, NY 10021


Loftus, Hillary                                     Small Business Administration
448 West 36th Street 3                              26 Federal Plaza #3100
New York, NY 10018                                  New York, NY 10278


Lohrfink, Jill                                      Sparber, Roy and Susan
101 Warren Street                                   53 North Moore Street Apt 6D
New York, NY 10007                                  New York, NY 10013


Martin, Calvin                                      Thach, Chantha
180 Water Street 2410                               70 7th Avenue 3A
New York, NY 10038                                  New York, NY 10011


Massachusetts Bay Insurance Company                 Tribeca Paint
400 Atrium Dr 5th floor                             217 W Broadway
Somerset, NJ 08873                                  New York, NY 10013


Medina, Henry                                       Twin Oaks
75 Locustwood Blvd                                  1463 Berlin Turnpike
Elmont, NY 11003                                    Berlin, CT 06037


New York City Department of Finance                 Vaughan, Roberta
1 Centre Street                                     118 Centre Island Road
New York, NY 10007                                  Oyster Bay, NY 11711


New York Department of Taxation and Finance         Verizon
Bankruptcy Section                                  PO Box 15124
PO Box 5300                                         Albany, NY 12212
Albany, NY 12205

                                                    Wear, Lukas
O'Neill, Regan and Erin                             510 East 88th Street D
100 Barclay Street Apt 12N                          New York, NY 10024
New York, NY 10007

                                                    Weber, Jonathan
Parker, Kyle                                        40 South Oxford Street 2
303 East 83d Street 3F                              Brooklyn, NY 11217
New York, NY 10028

                                                    Weiser, Nathan
Preuninger, Victor                                  160 Riverside Blvd 22B
4251 Hunter Street 2D                               New York, NY 10069
Long Island City, NY 11101

                                                    Yurcisin, Zachary
Roberts, Brian                                      191 St Nicholas Avenue 5F
34 West 56th Street                                 New York, NY 10026
Bayonne, NJ 07002
